Case 2:05-cV-02307-.]PI\/|-Cgc Document 11 Filed 06/16/05 Page 1 of 2 Page|D 7

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UN]TED STATES DISTRICT COURT
WESTERN DlsTRlCT 0F TENNESSEE §§ JL;,¢, §§ m ¢;= 31

CARRIER CORPORAT}ON, ) 1 '; '.;.»-; mcs 0
) ,Lr§ i 1395 DlST. CT.
Plaintiff, ) ic 999 99 999- 9~95999'9 999
)
v. ) CivilAction`N0.05-2307-MIV
)
PAUL P. PIPER, JR., et al., )
)
Defendants. )
)
ORDER

Defendant Quanex Corporation’s Unopposed Motion To Extend Time In Which To
Answer, Move or Otherwise Respond is hereby granted. Defendant Quanex Corporation shall
have until and including July 15, 2005 to answer or otherwise respond to plaintiff Carrier

Corporation’s Complaint in this matter.

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Dated: £/Lf/PU / q F?UJS_-

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Honorable J on McCalla
US DISTRICT COURT

